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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO
                                  ______________________

UNITED STATES OF AMERICA,

               Plaintiff,

       v.                                                          No. 1:17-cr-1235-WJ

MATTHEW WOODS,

               Defendant.

 MEMORANDUM OPINION AND ORDER DENYING DEFENDANT’S MOTION IN
  LIMINE TO EXCLUDE IMPROPER 404(b) EVIDENCE and GRANTING THE
GOVERNMENT’S MOTION TO EXCLUDE MR. WOODS’ HEARSAY STATEMENTS

       THIS MATTER comes before the Court on Defendant’s Motion In Limine to Exclude

Improper 404(b) Evidence, filed June 1, 2020 (Doc. 420). Defendant seeks to preclude the

Government from making any reference to the murders of T.S. and D.Y and any item of evidence

contained in the Governments Notice of Intent to Introduce Evidence as Res Gestae or Prior Bad

Acts Pursuant to Fed. R. Evid. 404(b), filed April 19, 2019 (Doc. 316). The Court will also use

this Memorandum Opinion and Order to issue a ruling on the Government’s motion to exclude

evidence that T.S. caused someone’s death (Doc. 450 at 3-4). See Doc. 491 at 11 (deferring ruling

on this matter).

                                         Background

       Defendant Matthew Woods is charged with seven counts involving the sex trafficking of

adults and minors and one count alleging obstruction. Doc. 380 (Fourth Superseding Indictment).

All of his co-defendants, who allegedly formed a conspiracy with Defendant (the “Galloway

Organization”), have been terminated from this action. Mr. Woods is the only member of the

alleged Galloway Organization who denies criminal liability. The Indictment alleges that

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beginning on or before October of 2016 and continuing to May of 2017, the Galloway Organization

recruited adult women to perform commercial sex acts, knowing that force, threats, fraud, or

coercion would be used to cause these women to engage in these acts. The Indictment further

alleges that the Galloway Organization committed sex trafficking of two juveniles, counts that do

not require proof of force, fraud, threats, or coercion.

       The Government alleges that the typical modus operandi for the Galloway Organization

was to target and recruit vulnerable females and subsequently use narcotics or physical violence

to cause these women to engage in commercial sex acts. Doc. 429 at 2. The Government contends

that, once recruited, the women were then exploited and controlled through beatings and the

withholding of drugs or food. Id. According to the Government, Mr. Woods’ role in the Galloway

Organization was to act as an “enforcer” for ringleader Cornelius Galloway. When the women

refused to do as they were told, Cornelius Galloway sent them to Matthew Woods for punishment.

This punishment would range from physical beatings to forcible rape. Id.

                                           Relevant Law

       The text of § 1591(a) proscribes two forms of sex trafficking: (1) sex trafficking involving

a commercial sex act induced by means of force, threats of force, fraud, or coercion, or a

combination thereof; and (2) child sex trafficking in which the person induced to perform the

commercial sex act is under the age of eighteen. 18 U.S.C. § 1591(a). The mens rea elements for

the two forms of sex trafficking are different. Under the first form, a defendant must act knowingly,

or in reckless disregard of the fact, that a commercial sex act was induced by means of force,

threats of force, fraud, coercion, or any combination thereof. Under the second form, a defendant

must act knowingly, or in reckless disregard of the fact, that the person induced to perform the

commercial sex act was not eighteen years old. Id. With respect to this second form, Congress also



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provided:

       In a prosecution under subsection (a)(1) in which the defendant had a reasonable
       opportunity to observe the person so recruited, enticed, harbored, transported,
       provided, obtained, maintained, patronized, or solicited, the Government need not
       prove that the defendant knew, or recklessly disregarded the fact, that the person
       had not attained the age of 18 years.

       Id. § 1591(c); see also United States v. Gemma, 818 F.3d 23, 38 (1st Cir. 2016).

       The Government seeks to admit the evidence discussed below as res gestae, which has

been defined as other acts that are inextricably intertwined with the charged offense or those acts,

the telling of which is necessary to complete the story of the charged offense. United States v.

Sangiovanni, WL 1655918, at *10 (D.N.M. March 20, 2013) (Browning, J.) (citing United States

v. Hardy, 228 F.3d 745, 748 (6th Cir. 2000)). Res gestae can also come in the form of “proper

background evidence,” which the Sangiovanni Court explained “has a causal, temporal or spatial

connection with the charged offense.” Id. at *11. “Typically, such evidence is a prelude to the

charged offense, is directly probative of the charged offense, arises from the same events as the

charged offense, forms an integral part of a witness’s testimony, or completes the story of the

charged offense.” Id. (quoting Hardy, 228 F.3d at 748).

       If the noticed evidence is not admitted as res gestae, the Government then requests it be

admitted as evidence of prior acts pursuant to Rule 404(b), which provides that “evidence of a

crime, wrong, or other act is not admissible to prove a person’s character in order to show that on

a particular occasion the person acted in accordance with the character.” Fed. R. Evid. 404(b)(1).

To be admissible, Rule 404(b) evidence must (1) be offered for a proper purpose, (2) be relevant,

(3) have a probative value that is not substantially outweighed by potential for unfair prejudice,

and (4) upon request, be subject to an appropriate limiting instruction. United States v. Smalls, 752

F.3d 1227, 1237 (10th Cir. 2014).



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                                            Discussion

   I.      Defendant’s Motion to Exclude

   A. Limited References to the Murder of T.S. are Admissible as Res Gestae Evidence

        Defense counsel argues that the murders of D.Y. and T.S. in January of 2017 are not

relevant to the case against Mr. Woods, who was in custody at the time both murders occurred.

According to Defendant, this evidence cannot be admitted as res gestae because it is not

inextricably intertwined with Mr. Woods’ charged conduct nor is it necessary to show the full

picture of the charged offenses.

        The Government does not plan on referencing the murder of D.Y. in its case in chief, nor

does it expect to put on any evidence that Cornelius Galloway may have been involved in the

murder of T.S. Instead, the Government insists that it will give the jury a limited and sanitized

version of T.S.’s murder in order to better explain the case. The Court agrees with the Government

that the proposed limited references to T.S.’s murder are admissible as res gestae.

        Evidence of the murder is intertwined with proper evidence to such a degree that telling

the jury T.S. was killed is necessary to complete the picture. It explains why she is not a witness

against the Galloway Organization and many of Mr. Woods’ statements to law enforcement were

made in the context of discussing T.S.’s murder. In turn, some of Mr. Woods’ statements are

relevant to whether T.S. was being trafficked by the Galloway Organization. Under these

circumstances, evidence that T.S. was murdered is inextricably intertwined with proper evidence

of the Galloway Organization’s alleged trafficking operations and its admission is necessary for

the Government to be able to give a full picture of the charged offenses. Defendant’s objections

are overruled.

        The Court will allow limited references to the murder of T.S. to be introduced at trial. To

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cure any danger of unfair prejudice, the Court grants Defendant’s request for an order requiring

the Government (or the Court) to read a stipulation to the jury stating that Mr. Woods was in jail

when the murder occurred and that no allegations have been made that Mr. Woods was criminally

involved in this murder.

       The Court will not rule on the admissibility of evidence related to the murder of D.Y. The

Government has represented that it does not plan to reference this incident in its case in chief.

Should the Government seek to reference the murder of D.Y. at trial, it must request a bench

conference so that the Court may rule on this matter before the jury hears potentially inadmissible

evidence.

   B. Evidence that Mr. Woods Raped T.S. is Admissible as Intrinsic Evidence of the
      Galloway Organization’s Trafficking Activities

       In its Notice, the Government states that every instance of Mr. Woods engaging in force,

threats, fraud, and coercion is clearly relevant and intrinsic to the charges themselves. See 18

U.S.C. 1591(a). Defendant does not object to noticed evidence of Mr. Woods’ multiple rapes of

A.R., the victim listed in Count 7. Instead, Defendant challenges only the Government’s

eyewitness testimony that Mr. Woods publicly raped T.S. at a party in the fall of 2016. The Motion

argues that T.S. was likely working for a different pimp at the time and, consequently, Mr. Woods

was not engaging in this alleged conduct as an “enforcer” or trafficker. Defendant, citing United

States v. Pace, 981 F.2d 1123, 1135 (10th Cir. 1992), asserts that evidence of acts that occurred

outside the life of the conspiracy cannot be admitted as res gestae. Finally, Defendant contends

that this evidence has a high potential for unfair prejudice. See Fed. R. Evid. 403.

       The Government contends that the text messages collected from Cornelius Galloway’s cell

phone strongly indicate that T.S. was again being trafficked by the Galloway Organization when

this alleged rape occurred. Doc. 429 at 5.

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         The Court finds Defendant’s Pace argument unavailing, as the cited to portion of that

opinion discusses only the narrow issue of whether Rule 404(b) applies to evidence generated

during the life of the conspiracy. 981 F.2d at 1135. The Tenth Circuit has held that res gestae is

“not subject to Rule 404(b)” United States v. Irving, 665 F.3d 1184, 1212 (10th Cir. 2011). Indeed,

res gestae is not limited to the life of the conspiracy because it can include other acts that “were

necessary preliminaries to the crime charged,” Id., or were “a prelude to the charged offense.”

Sangiovanni, 2013 WL 1655918, at *11.

         Under these circumstances, evidence of T.S.’s rape at the hands of Mr. Woods is entirely

germane background information that is directly connected to the factual circumstances of Count

3, which alleges that the Galloway Organization trafficked T.S. This behavior fits squarely within

the Indictment’s allegations and constitutes substantive evidence that Mr. Woods engaged in acts

of force, fraud, and coercion. See 18 U.S.C. 1591(a). This evidence plays largely the same role

with regards to Counts 2, 3, 4, and 7, as it tends to prove that Mr. Woods knew or recklessly

disregarded the fact that force, threats, fraud, or coercion would be used to cause the other charged

victims to engage in commercial sex acts. See id. The testimony about Mr. Woods’ rape of T.S.,1

and evidence of Mr. Woods’ rapes of A.R., are admissible intrinsic evidence.

         The Court finds that the high probative value of this eyewitness testimony is not

substantially outweighed by the danger for unfair prejudice. See Fed. R. Evid. 403. The allegations

in this case are very unpleasant, therefore the relevant evidence used to prove the case will also be



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         Were the testimony to establish that the rape of T.S. occurred earlier than the charge conspiracy period and
under circumstances too attenuated from the charged offenses, then the Court would likely find that this evidence is
admissible under Rule 404(b) because it demonstrates Mr. Woods had knowledge of the forceable and coercive
methods used by sex trafficking rings like the Galloway Organization, and, further, he knew that these methods would
cause the victims, like T.S. and A.R., to engage in future commercial sex acts. See Fed. R. Evid. 404(b); United States
v. Todd, 627 F.3d 329, 334 (9th Cir. 2010) (18 U.S.C. § 1591 describes a state of mind in which the knower is familiar
with a pattern of conduct or at least be aware of an established modus operandi that will in the future cause a person
to engage in prostitution).

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unpleasant. This does not make it unfair. The possibility that a jury would erroneously connect this

incident to T.S.’s murder several months later will be cured by a reading of the Government’s

stipulation, as discussed in the section above. Defendant’s objections are overruled.

    C. Evidence that the Galloway Organization Trafficked Women Not Named in the
       Indictment is Admissible as Res Gestae

         The Government alleges that the Galloway Organization trafficked approximately nine to

twelve women. Cornelius Galloway admits to having approximately ten victims. Six of these

women are named in the Indictment, leaving additional women unnamed (the “uncharged

victims”). The Government argues the involvement of the uncharged victims is intrinsic to the

overall scheme and fact pattern of the charged offenses. Doc. 316 at 6. Defendant argues that this

evidence is prejudicial and barred under Fed. R. Evid. 404 and Fed. R. Evid. 403, and that any

substantive act that occurred before October of 2016 cannot be admitted as res gestae.

         As discussed above, evidence generated prior to the charged period can still be admissible

as res gestae. For example, Cornelius Galloway’s text messages pertaining to the commercial sex

engaged in by the uncharged victims, sent in late September, are “a prelude” to the charged

offense.2 Many of the charged victims reference the uncharged victims when they tell their

accounts. Referring to the uncharged victims is necessary to answer basic questions regarding how

each charged victim met the Galloways, and who was present when they were being trafficked

during the conspiracy. Cornelius Galloway referenced some of the uncharged victims in his

interview with police when explaining his involvement in the alleged sex trafficking ring. The

Court agrees with the Government that references to the uncharged victims are necessary to

complete the story of the charged offenses. This evidence if properly admissible as res gestae.


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         The Court would also be inclined to find that text messages exchanges from September 25 to 27, 2016
occurred during the life of the conspiracy. See Doc. 429 at 7–8. As the Indictment states, the Government alleges that
the conspiracy began “on or about October 2016. . . .” Doc. 380 at 1 (emphasis added).

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         The Court finds the high probative value of this evidence is not substantially outweighed

by the danger for unfair prejudice. Because the Galloway Organization used largely the same

methods when trafficking its victims, whether charged or uncharged, references to the uncharged

victims’ involvement in this case does not present a danger of unfair prejudice or misleading the

jury. Defendant’s objections are overruled.

    D. Evidence of Cornelius Galloway Beating Juvenile M with an Extension Cord and Beating
       T.S. with a Backscratcher is Admissible Intrinsic Evidence.

         Defendant asks the Court to exclude only the evidence pertaining to the incident in which

Cornelius Galloway allegedly beat T.S. with a backscratcher,3 the argument being that since Mr.

Galloway is no longer a party to this case admitting evidence of his alleged beatings would be

irrelevant and improper at Mr. Woods’ trial. The Government seeks to admit every instance of

Cornelius Galloway’s violence against victims as intrinsic evidence. According to the

Government, the evidence that Mr. Galloway was beating adult and minor victims during the

charged period is highly probative as to the sex trafficking charges against Mr. Woods.

         The Court agrees that the noticed evidence meets the standards set forth in Sangiovanni for

“proper background evidence” for Counts 3 and 6, as it is directly probative of those charged

offenses, arises from the same events, and forms an integral part of a witness’s testimony. WL

1655918, at *11. The high probative value of this evidence is not unfairly prejudicial, see Fed. R.

Evid. 403, and it is unlikely to provoke an inappropriate emotional response from the jury. See

United States v. Rodriguez, 192 F.3d 946, 951 (10th Cir. 1999) (holding that evidence may be



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          Defendant’s Motion misstates the nature of the Government’s proffered evidence as it discusses instances of
Mr. Galloway beating Juvenile J and her mother with a backscratcher. Doc. 420 at 6. The Reply corrects the
misstatement and contends that the Motion’s reasoning and arguments for exclusion are transferable to Mr. Galloway’s
beating of T.S. Doc. 434 at 3.
          Moreover, the Court will not address Defendant’s objection to admitting evidence of Mr. Galloway carrying
on an affair with Juvenile J’s mother, as the Government has agreed not to mention the nature of this relationship and
will instead present evidence demonstrating only that the two knew each other well. Doc. 429 at 10.

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excluded under Rule 403 if it “tends to affect adversely the jury’s attitude towards a defendant

wholly apart from its judgment as to his guilt or innocence of the crimes charged.”). Defendant’s

objections to the admission of evidence regarding the evidence described above are overruled.

Defendant may still object at trial to instances of Mr. Galloway’s violence towards victims that

were not described in the Government’s Notice.

   II.      Government’s Motion to Exclude Evidence that T.S. Caused Someone’s Death

         In his interview with police, Woods made a statement to the effect that T.S. “ended up

killin’ our f***ing friend… .” The statement was made in reference to another statement by Woods

that T.S. had been “slipped a Mickey” (bad or tainted narcotics) which caused T.S. to act out. The

Government seeks to exclude the statements at trial because they are hearsay, not relevant, and

untrustworthy on their face. T.S. is deceased and so cannot deny this claim. Defendant opposes

the exclusion, claiming that even if the statements turns out to be false, it would show that Woods

overstates the violence he sees and hears about on the streets. The Court originally deferred ruling

on the matter. Doc. 491 at 11.

         Unless Mr. Woods chooses to testify at trial, these statements are hearsay if offered by his

defense counsel. Cf. Fed. R. Evid. 801(d)(2) (a statement made by an opposing party is not

hearsay). The circumstances do not reveal a hearsay exception, and Defendant’s argument that

these statements are not being used for their truth is unavailing. Because they are hearsay without

an exception, the Court grants the Government’s motion to exclude these statements. If Defendant

chooses to testify at trial or Defense counsel finds a non-hearsay vehicle for this evidence, then it

must request a bench conference so that the Court may rule on this matter before the jury hears

potentially inadmissible evidence.




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                                        Conclusion

       For the reasons discussed above, the Court hereby DENIES Defendant’s Motion In Limine

to Exclude Improper 404(b) Evidence (Doc. 420) and GRANTS the Government’s Motion to

Exclude Mr. Woods’ statements that T.S. Caused someone’s death (Doc. 450 at 3-4).

       IT IS SO ORDERED.


                                          _____________________________________
                                          WILLIAM P. JOHNSON
                                          CHIEF UNITED STATES DISTRICT JUDGE




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